        Case 8-22-71847-las               Doc 17       Filed 10/04/22    Entered 10/04/22 11:29:34




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                  Chapter 7

Renee Burke aka Renee L. Burke,                                         Case No. 8-22-71847-las

                                       Debtor.
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              ORDER PURSUANT TO 11 U.S.C. § 362(d)(1) AND (d)(2) VACATING
                 THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. § 362(a)

         Upon the motion, dated September 6, 2022 (the “Motion”) [dkt. no. 14], of SN Servicing

Corporation as servicer for U.S. Bank Trust National Association, as Trustee LB- Series IV

Trust (the “Creditor”), for an order, pursuant to section 362(d)(1) and (d)(2) of title 11 of the

United States Code (the “Bankruptcy Code”), vacating the automatic stay imposed in the

above-captioned case by section 362(a) of the Bankruptcy Code as to the Creditor’s interest

in 283 W Neck Rd, Huntington, NY (the “Property”) to allow the Creditor’s enforcement of its

rights in, and remedies in and to, the Property; and due and proper notice of the Motion

having been made on all necessary parties; and there being no opposition to the Motion; and

Creditor having filed a Certificate of No Objection pursuant to the Court’s Procedures During

National Emergency (COVID-19) [dkt. no. 16]; and upon all the proceedings had before the

Court; and after due deliberation and sufficient cause appearing; it is hereby

         ORDERED that the Motion is granted as provided herein; and it is further

         ORDERED that the automatic stay imposed in this case by section 362(a) of the

Bankruptcy Code is vacated under section 362(d)(1) and (d)(2) of the Bankruptcy Code as to

the Creditor’s interest in the Property to allow the Creditor’s enforcement of its rights in, and

remedies in and to, the Property; and it is further



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       ORDERED that the Creditor shall notify the chapter 7 trustee of any surplus monies

realized by any sale of the Property within ten (10) days of such sale.




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 Dated: October 4, 2022                                            Louis A. Scarcella
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        Central Islip, New York                             United States Bankruptcy Judge
